         Case 3:17-cv-00402-GTS-DEP
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                                     Document 35 Filed 09/27/18 Page 1 of 5
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JAMES DOE,                                                            •
                                                                            Civil Action No:

                                                                            3:17-cv-U0402 GTS-DEP
                              Plaintiff,                              •

                  -against-                                           •

CORNELL UNIVERSITY,ELIZABETH MCGRATH,
as agent for Cornell University, and     •
JODY KUNK-CZAPLICKI,as agent for Cornell                                                           -
University,                              •

                           Defendants.
------------------------------------------------------------------------X

           AND NOW COMES the Plaintiff James Doe ("Plaintiff'), by and through his

attorneys, Nesenoff & Miltenberg, LLP, and accepts Defendants Cornell University, Elizabeth

McGrath and Jody Kunk-Czaplicki ("Defendants") Offer of Judgment dated August 31, 2018

pursuant to Federal Rule of Civil Procedure 68.

    1. Plaintiff hereby accepts Defendants' Offer of Judgment "in the amount of
       $125,000.00, exclusive of costs and attorneys' fees accrued to date, on all causes of
       action alleged in Plaintiff's Amended Complaint, dated May 12, 2017."

    2. As the prevailing party of Plaintiffs 42 U.S.C. § 1983 claims, and Plaintiff's claims
       under Title IX of the Education Amendments of 1972, Plaintiff will serve his Fee
       Petition upon the Defendants within fourteen (14) days of the entry ofjudgment of this
       acceptance of Defendants' Offer of Judgment.

Dated: New York, New York
       September 7,2018
                                                       Respectfully Submitted,

                                                                      •             •   ~      ~
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that this document was served upon the attorneys of record for
each party to the above-entitled cause at the address shown below on September 7, 2018.

Jonathan B. Fellows, Esq.
Suzanne M. Messer, Esq.
BOND,SCHOENECK &KING PLLC
One Lincoln Center
Syracuse, New York 13202
Telephone:315-218-8000
Email: ~fellovvs(a~bskocom
                e
Email: sesse~~a,bsk.co

Attorneysfog Defendants Cornell University, Elizabeth
McG~ath and body Dunk-C'zaplicki

       BY:    ~ U.S. Mail          [~     Federal Express

               D Hand-Delivery             Other: Email




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        Case 3:17-cv-00402-GTS-DEP Document 35 Filed 09/27/18 Page 3 of 5



UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

JAMES DOE,

                                 Plaintiff,                            OFFER OF JUDGMENT

                       ►~~                                             Civil Action No.:
                                                                       3:17-cv-00402 (GTS/DEP)
CORNELL UNIVERSITY, ELIZABETH MCGRATH, as
agent for Cornell University, and JODY KUNK-CZAPLICKI,
as agent for Cornell University,

                                 Defendants.



               Pursuant to Rule 68 of the Federal Rules of Civil Procedure, Defendants Cornell

University, Elizabeth McGrath, and Jody Kunk-Czaplicki (collectively "Defendants") hereby

offer to allow judgment to be taken against them in this action, in the amount of $125,000.00,

exclusive of costs and attorneys' fees accrued to date, on all causes of action alleged in

Plaintiffls Amended Complaint, dated May 12, 2017.

               This offer will be deemed withdrawn unless Plaintiff serves a written notice of

acceptance of the offer within ten (10) days of the date of service. This Offer of Judgment is

made for the purposes of Rule 68 only, and neither it nor any judgment that may result from this

offer may be construed as an admission that Defendants, or any of them, are liable in this action,

or that Plaintiff has suffered any damages.




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Dated: August 31, 2018                  BOND,SCHOENECK &KING,PLLC


                                        By:
                                               Jonath B. Fellows(101628)
                                               Suzanne M. Messer(514398)
                                        Office and P.O. Address
                                        One Lincoln Center
                                        Syracuse, New York 13202-1355
                                        Telephone: (315)218-8000

                                        Valerie Cross Dorn(505158)
                                        Jared M.Pittman(518095)
                                        Cornell University
                                        235 Garden Avenue, 300 CCC Building
                                        Ithaca, New York 14853
                                        Telephone: (607)255-5124

                                        Attorneysfor Defendants




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                               CERTIFICATE OF SERVICE

              I certify that on the 31st day of August, 2018, a true and correct copy ofthe
foregoing Offer of Judgment was served upon the following counsel via E-Mail addressed as
follows:

              Tara Davis
              Stuart Bernstein, Esq.
              Nesenoff& Miltenberg, LLP
              363 Seventh Avenue, 5th Floor
              New York, NY 10001-3904
              E-mail: TDavis(a~nmllplaw.com
              E-mail: SBernstein~a~,nmllplaw.com

              Attorneysfor Plaintiff




                                                   Suzann M. Messe




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